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                 Exhibit B




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                                  Exhibit B –Meta’s Substantial
                                  Narrowing of Disputed Topics

Global Limitations –

   •   “Social Media Platforms” limited to Facebook, Instagram, TikTok, Snapchat, YouTube,
       and Twitter/X.

   •   Meta will identify representative examples of documents and information it intends to ask
       about in advance of the deposition to the extent possible, as further detailed in Meta’s
       position statement.

Specific Topics

   •   Topic 2 - The State’s use of Social Media Platforms including but not limited to
       advertisements, or promotions of, or by, the State or the State’s programs on, and posts on
       Social Media Platforms during the Relevant Period.

   •   Topic 3 - Programs, initiatives, efforts, or actions considered, proposed, taken by, and/or
       involving the State (including without limitation any State agency) to encourage, promote,
       or discourage the use of Social Media Platforms by individuals under the age of 18 during
       the Relevant Period.

   •   Topic 4 - During the Relevant Period, programs, initiatives, efforts, or actions considered,
       proposed, taken by, and/or involving the State to address the use of Social Media Platforms
       by individuals under the age of 18, including without limitation:

           a. Any program, initiative, effort, or action to discourage or prevent individuals under
              the age of 18 from using, or to decrease their usage of, Social Media Platforms; and
           b. Any program, initiative, effort, or action to encourage or promote the use of Social
              Media Platforms by individuals under the age of 18.

   •   Topic 5 - The State’s communications and/or collaboration with any Social Media Platform
       on any program, initiative, effort, or other action related to, or directed at, the use of Social
       Media Platforms by individuals under the age of 18 who use Social Media Platforms during
       the Relevant Period.

   •   Topic 6 - The State’s communications and/or collaboration with any third party concerning
       any actual or identified potential program, initiative, effort, or other action related to, or
       directed at, the use of Social Media Platforms by individuals under the age of 18, and/or
       the mental, social, emotional, or behavioral health and wellbeing of individuals under the
       age of 18, during the Relevant Period.

   •   Topic 7 - Studies, reports, programs, initiatives, efforts, or actions proposed, taken by, or
       involving the State that sought to provide internet access or phones, computers, or other
       electronic devices to individuals under the age of 18 during the Relevant Period, not
       including any colleges or institutes of higher learning.


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•   Topic 8 - Research, investigations, tests, studies, surveys, reports, evaluations, or analyses
    related to Social Media Platforms that the State created, considered, relied on, or
    contributed to during the Relevant Period, including without limitation the use of Social
    Media Platforms by individuals under the age of 18 and the potential benefits and/or harms
    created by the use of Social Media Platforms by individuals under the age of 18.

•   Topic 10 - Any public or identified non-public meetings held by the State related to Social
    Media Platforms during the Relevant Period, including without limitation the use of Social
    Media Platforms by individuals under the age of 18.

•   Topic 15 – Studies, research, tests, programs, initiatives, efforts, or actions proposed, taken
    by, or involving the State to address the mental, social, emotional, or behavioral health and
    wellbeing of individuals under the age of 18 during the Relevant Period (including, but not
    limited to, depression, anxiety, suicide, eating disorders, self-harm, loss of sleep,
    compulsive use of Social Media Platforms, and addiction) that the State created,
    considered, relied on, or contributed to during the Relevant Period.

•   Topic 17 – The State’s knowledge and/or understanding of different factors that impacted
    the mental, social, emotional, or behavioral health and wellbeing of individuals under the
    age of 18 during the Relevant Period, including but not limited to any assessment or
    evaluation of such factors by the State. For avoidance of doubt, this Topic includes, without
    limitation, the State’s knowledge and/or understanding of how the following factors
    impacted the mental, social, emotional, or behavioral health and wellbeing of individuals
    under the age of 18:

       a. Social Media Platforms;
       b. Video games usage;
       c. Cell phone usage;
       d. Messaging usage;
       e. Usage of other electronics, applications, or internet sites apart from usage of Social
          Media Platforms;
       f. COVID-19 and/or remote learning;
       g. Use of drugs or alcohol;
       h. The opioid and fentanyl epidemic;
       i. Poverty, homelessness, lack of health insurance, and/or food insecurity;
       j. Physical health including nutrition, exercise, weight management, sleeping habits,
          and sexual activity;
       k. Family trauma or deaths;
       l. Family dynamics, such as divorce, adoption, and foster care;
       m. Academic pressure;
       n. Violence, including school violence, gang violence, and domestic violence;
       o. Bullying or verbal abuse apart from usage of Social Media Platforms;
       p. Political polarization;
       q. Physical and mental disabilities;
       r. Natural disasters;
       s. Climate change;
       t. Discrimination and inequity; and/or


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       u. Global warfare and conflict.

•   Topic 18 – Mental, social, emotional, or behavioral health services provided by the State
    during the Relevant Period to individuals under the age of 18, including without limitation
    such individuals who use Social Media Platforms.

•   Topic 19 - Budgeted and actual expenditures by the State during the Relevant Period
    related to the mental, social, emotional, or behavioral health and wellbeing of individuals
    under the age of 18, including without limitation such individuals who use Social Media
    Platforms.

•   Topic 31 - The State’s consideration, analysis, or views regarding any Social Media
    Platform directed at children under the age of 13, including without limitation a potential
    version of Instagram for children under the age of 13, during the Relevant Period.




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